Case 2:20-cv-06717-VAP-MAA Document 18 Filed 11/12/20 Page 1 of 1 Page ID #:111



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   7                          UNITED STATES DISTRICT COURT
   8                         CENTRAL DISTRICT OF CALIFORNIA
   9    ORLANDO GARCIA,                                  Case: 2:20-CV-06717-VAP-MAA
  10            Plaintiff,                               Plaintiff’s Notice of Voluntary
  11      v.                                             Dismissal With Prejudice
  12    R.A. GLENDALE LLC, a California                  Fed. R. Civ. P. 41(a)(1)(A)(i)
        Limited Liability Company;
  13    MARSHALLS OF CA, LLC, a
        Virginia Limited Liability Company;
  14    and Does 1-10,
  15             Defendants.
  16           PLEASE TAKE NOTICE that Plaintiff Orlando Garcia, hereby
  17   voluntarily dismisses the above captioned action with prejudice pursuant to
  18   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
  19           Defendants R.A. Glendale LLC, a California Limited Liability
  20   Company and Marshalls of CA, LLC, a Virginia Limited Liability Company
  21   have neither answered Plaintiff’s Complaint, nor filed a motion for summary
  22   judgment. Accordingly, this matter may be dismissed without an Order of the
  23   Court.
  24   Dated: November 12, 2020              CENTER FOR DISABILITY ACCESS
  25                                         By: /s/ Amanda Seabock
  26                                                Amanda Seabock
                                                   Attorneys for Plaintiff
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                    Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                 Federal Rule of Civil Procedure 41(a)(1)(A)(i)
